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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

 AMERICAN CHEMICAL SOCIETY ET AL.,

                               Plaintiffs,            Case No. 8:18-cv-03019-GJH

        v.

 RESEARCHGATE GMBH,

                               Defendant.



               JOINT MOTION TO MODIFY THE PROTECTIVE ORDER

       Plaintiffs American Chemical Society, Elsevier Inc., Elsevier Ltd., and Elsevier B.V.

(collectively, “Plaintiffs”), and Defendant ResearchGate GmbH (“Defendant”), by and through

their respective undersigned counsel, hereby submit this Joint Motion to Modify the Protective

Order previously proposed by the parties (ECF No. 32) and entered by the Court (ECF No. 35) to

permit Hank Udow, Chief Legal Officer of RELX plc, to view information designated as

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.

       Paragraph 4(a)(ii) of the Protective Order limits the employees of Plaintiffs who can view

information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to

designated members of Plaintiffs’ in-house legal departments. Mr. Udow is the Chief Legal

Officer of RELX plc, Elsevier’s parent company. Permitting Mr. Udow to view information

designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” would greatly

facilitate Elsevier’s ability to manage this case. Accordingly, the Parties jointly seek to modify

Paragraph 4(a)(ii) to add Mr. Udow to the list of Plaintiffs’ designated in-house counsel who can

view information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
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Dated: March 24, 2020

Respectfully submitted by:

 __/s/ Corey Miller________                    __/s/ Toyja E. Kelley___________________
 Corey Miller (Bar Number 20835)               Toyja E. Kelley (Bar No. 26949)
 Scott A. Zebrak (Bar Number 17741)            SAUL EWING ARNSTEIN & LEHR LLP
 Lucy Grace D. Noyola                          500 E. Pratt Street, Suite 900
 OPPENHEIM + ZEBRAK, LLP                       Baltimore, MD 21202-3133
 4530 Wisconsin Avenue NW, Fifth Floor         410-332-8600
 Washington, DC 20016                          410-332-8862 (facsimile)
 Tel: (202) 480-2999                           Toyja.kelley@saul.com
 Fax: (866) 766-1678
 scott@oandzlaw.com                            Mark A. Lemley
 corey@oandzlaw.com                            Joseph C. Gratz
 lucy@oandzlaw.com                             Allyson R. Bennett
                                               Aaron J. Benmark
 Counsel for Plaintiffs                        DURIE TANGRI LLP
                                               217 Leidesdorff Street
                                               San Francisco, CA 94111
                                               mlemley@durietangri.com
                                               jgratz@durietangri.com
                                               abennett@durietangri.com
                                               abenmark@durietangri.com
                                               415-362-6666
                                               415-236-6300 (facsimile)

                                               Counsel for Defendant




                      SO ORDERED this __ day of _______________, 2020



                                  GEORGE J. HAZEL
                                  UNITED STATES DISTRICT JUDGE




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 24th day of March, 2020, a copy of the foregoing

Joint Motion to Modify the Protective Order was electronically filed and served on all counsel

and parties of record via the Court’s CM/ECF system.




                                            __/s/ Corey Miller_________
                                            Corey Miller




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